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        BIRDDOG TECHNOLOGY LIMITED
    8   and BIRDDOG AUSTRALIA PTY, LTD
    9
   10                       UNITED STATES DISTRICT COURT
   11                      CENTRAL DISTRICT OF CALIFORNIA
   12
        BIRDDOG TECHNOLOGY                        Case No. 2:23-cv-09416 CAS (AGRx)
   13   LIMITED, an Australian company;
        and BIRDDOG AUSTRALIA PTY,                PLAINTIFFS BIRDDOG
   14   LTD, an Australian company,
                                                  TECHNOLOGY LIMITED’S AND
   15                 Plaintiffs,                 BIRDDOG AUSTRALIA PTY LTD’S
   16                                             EX PARTE APPLICATION TO
             v.
                                                  COMPEL RULE 26(f)
   17   2082 TECHNOLOGY, LLC DBA                  CONFERENCE; DECLARATION
        BOLIN TECHNOLOGY, a California            OF GABRIEL M. HUEY;
   18   limited liability company; BOLIN
        TECHNOLOGY CO., LTD., a Chinese           [PROPOSED] ORDER
   19   limited company; HOI “KYLE” LO, an
        individual; JENNIFER LEE, an
   20   individual; and DOES 3 through 25,
        inclusive,
   21
                      Defendants.
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            PLAINTIFFS’ EX PARTE APPLICATION TO COMPEL RULE 26(f)
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    1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
    2   RECORD:
    3         PLEASE TAKE NOTICE that, pursuant to Local Rule 7-19, Plaintiffs
    4   BirdDog Technology Limited (“BirdDog Technology”) and BirdDog Australia Pty
    5   Ltd (“BirdDog Australia”) (collectively, “BirdDog”) will, and hereby do,
    6   respectfully submit this Ex Parte Application for an Order compelling Defendants
    7   2082 Technology, LLC dba Bolin Technology (“Bolin LLC”), Hoi “Kyle” Lo, and
    8   Jennifer Lee (“Appearing Defendants”) to participate in a Rule 26(f) conference of
    9   counsel. This Application is made on the ground that Appearing Defendants have
   10   failed to comply with their obligations to timely participate in a Rule 26(f) conference
   11   as required by Rules 26 and 16 of the Federal Rules of Civil Procedure.
   12         BirdDog has provided oral notice of this Application to counsel for Appearing
   13   Defendants, whose contact information is as follows:
   14
              Umberg Zipser LLP
   15         Dean J. Zipser
   16         Dzipser@umbergzipser.com
              Molly J. Magnuson
   17         Mmagnuson@umbergzipser.com
   18         1920 Main Street, Suite 750
              Irvine, CA 92614
   19         Phone: 949-679-0052
   20         Fax: 949-679-0461
   21         Counsel for Appearing Defendants indicated that they would oppose this

   22   Application.

   23         BirdDog seeks relief based on this Ex Parte Application, the Declaration of

   24   Gabriel M. Huey in support, the complete Court files and records in this action, and

   25   all matters that may be properly considered by the Court at the hearing on this

   26   Application.

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    1
    2                                  K&L GATES LLP

    3 Dated: April 22, 2024             By: /s/ Cassidy T. Young
    4                                       Ryan Q. Keech
                                            Gabriel M. Huey
    5
                                            Cassidy T. Young
    6
                                             Attorneys for Plaintiffs
    7
                                             BirdDog Technology Limited and
    8                                        BirdDog Australia Pty Ltd
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2    I.   INTRODUCTION
    3         The Federal Rules of Civil Procedure required the parties in this action to
    4   engage in a Rule 26(f) conference by January 22, 2024. Despite multiple efforts to
    5   comply with this deadline by Plaintiffs BirdDog Technology Limited (“BirdDog
    6   Technology”) and BirdDog Australia Pty Ltd (“BirdDog Australia”) (collectively,
    7   “BirdDog”), Defendants 2082 Technology, LLC dba Bolin Technology (“Bolin
    8   LLC”), Hoi “Kyle” Lo, and Jennifer Lee (collectively, “Appearing Defendants”)
    9   have evaded this obligation at every turn. Appearing Defendants’ blatant disregard
   10   of their discovery obligations, while disappointing, is unsurprising. Indeed, it is in
   11   line with the other antics they have engaged in to prevent BirdDog from proceeding
   12   in this action on its well-pled claims.
   13         In an effort to avoid liability for breaching its contract with BirdDog, Bolin
   14   LLC has taken the position that Bolin Limited, the manufacturing arm of Bolin LLC
   15   that is managed and controlled by the same individuals as Bolin LLC, is an entirely
   16   distinct entity that acts independently of Bolin Limited. Counsel for Bolin LLC, Mr.
   17   Lo, and Ms. Lee deny that they represent Bolin Limited and have refused to accept
   18   service on Bolin Limited’s behalf. BirdDog thereafter personally served Bolin
   19   Limited on February 12, 2024, and Bolin Limited failed to timely respond to
   20   BirdDog’s First Amended Complaint (“FAC”). Now, Appearing Defendants have
   21   taken the position that they should not have to engage in a Rule 26(f) conference
   22   because the pleadings are not settled, and a party to the action has not yet appeared.
   23         Appearing Defendants are wrong. The Federal Rules are clear as to when the
   24   Rule 26(f) conference is to take place, and the parties are required to timely conduct
   25   that conference absent an order from the Court staying discovery. Appearing
   26   Defendants have not sought a stay of discovery, nor would they be entitled to one if
   27   they did seek such relief. Moreover, Bolin Limited’s failure to appear in this action
   28   does not provide grounds to halt discovery as to the other defendants. Even if Bolin
                                                 1
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    1   Limited and Bolin LLC were truly distinct entities, which they are clearly not, case
    2   law is clear that a Rule 26(f) conference may proceed without all parties present, and
    3   a new Rule 26(f) conference need not take place when new parties are later added.
    4   Thus, timely conducting the Rule 26(f) conference would be neither impracticable
    5   nor inconvenient here.
    6         This case has been pending for nearly five months, and all the while Appearing
    7   Defendants have been exploiting the trade secrets they wrongfully acquired from
    8   BirdDog. Not only have Appearing Defendants refused to fulfill their contractual
    9   obligations, but they are actively creating products that unlawfully utilize BirdDog’s
   10   valuable and proprietary trade secrets. BirdDog will be substantially prejudiced if it
   11   were unable to proceed with discovery and the case were effectively stayed until the
   12   pleadings were settled, which could take several months.
   13         Given Appearing Defendants’ bad faith, their failure to request a stay of
   14   discovery, and the lack of any basis for requesting such a stay, the Court should order
   15   Appearing Defendants to participate in a Rule 26(f) conference so that this case may
   16   proceed efficiently and expeditiously as the Federal Rules of Civil Procedure
   17   intended.
   18   II.   FACTUAL BACKGROUND
   19         A.     BirdDog initiates this First-Filed Action.
   20         BirdDog filed the instant action on November 7, 2023 against Bolin LLC and
   21   Mr. Lo. (Dkt. 1.) Plaintiff served Bolin LLC with the Complaint on November 13,
   22   2023. (Dkt. 14.) Mr. Lo was served shortly thereafter, on November 27, 2024. (Dkt.
   23   18.) On November 28, 2024, counsel for Appearing Defendants—Dean Zipser and
   24   Molly Magnuson of Umberg Zipser LLP (“Defense Counsel”)—filed a notice of
   25   appearance on behalf of Bolin LLC and Mr. Lo, as well as a stipulation seeking
   26   additional time to respond to the Complaint. (Dkt. 15–17.) Appearing Defendants
   27   moved to dismiss BirdDog’s Complaint, and Plaintiff thereafter filed a FAC that
   28   asserted additional claims and named two new defendants—Bolin Limited (the
                                             2
            PLAINTIFFS’ EX PARTE APPLICATION TO COMPEL RULE 26(f)
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    1   manufacturing arm of Bolin LLC) and Ms. Lee (Bolin LLC’s Chief Operating Officer
    2   and wife of Mr. Lo). (Dkt. 34.)
    3         Although Defense Counsel represents and accepted service on behalf of Bolin
    4   LLC, Mr. Lo, and Ms. Lee, they claimed not to represent and refused to accept service
    5   on behalf of Bolin Limited. (Huey Decl. ¶ 2, Exh. A.) Despite multiple attempts,
    6   Bolin Limited evaded personal service of the First Amended Complaint through Mr.
    7   Lo and Ms. Lee, who are also Bolin Limited’s CEO and COO, at the time by fleeing
    8   to China. (Huey Decl. ¶ 5, Exh. D.)1
    9         B.     Bolin Limited files a vexatious and duplicative lawsuit against
   10                BirdDog in Australia.
   11         Less than two (2) weeks after BirdDog named Bolin Limited as Doe 1 and
   12   served the FAC on each Appearing Defendant and at the Bolin Limited and Bolin
   13   LLC international headquarters2 in Brea, California, Bolin Limited and Appearing
   14   Defendants filed a lawsuit against BirdDog in Australia (Dkt. 54-5: Australian
   15   Statement of Claim) based on the “same six transactions” (Dkt. 60) that are at issue
   16   in this First-Filed Action.
   17         As the Court is aware, Bolin Limited’s claims in the Australian Action are
   18   Rule 13(a) compulsory counterclaims arising out of the same transactions that are the
   19   subject matter of this First-Filed Action. Seattle Totems Hockey Club, Inc. v. Nat’l
   20   Hockey League, 652 F.2d 852, 854-55 (9th Cir. 1981) (“[Rule 13(a)] bars a party
   21   who failed to assert a compulsory counterclaim in one action from instituting a
   22   second action in which that counterclaim is the basis of the complaint.”).
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          Appearing Defendants subsequently filed motions to dismiss the FAC, which were
   27   granted in part and denied in part. (Dkt. 72.) BirdDog subsequently filed its Second
        Amended Complaint (“SAC”) on April 3, 2024. (Dkt. 76, 77.)
   28   2
          Huey Decl. ¶ 6, Exh. E; Dkt. 37 at 5–6.
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    1         C.    BirdDog attempts to conduct a discovery conference as required
    2               by Rule 26.
    3         On January 18, 2024, Ms. Magnuson contacted BirdDog’s counsel to request
    4   a two-week extension to respond to BirdDog’s FAC. (Huey Decl. ¶ 2, Exh. A.) In
    5   order to fully understand the scope of the request, BirdDog’s counsel asked whether
    6   Umberg Zipser would also be representing Ms. Lee and Bolin Limited. (Id.) Ms.
    7   Magnuson responded that Umberg Zipser would be representing Ms. Lee but,
    8   curiously, not Bolin Limited. (Id.) BirdDog’s counsel responded asking for more
    9   information about who would be representing Bolin Limited.           (Id.)   BirdDog
   10   explained that, as the CEO of Bolin Limited, Mr. Lee should have been readily able
   11   to provide this information. (Id.) Rather than answering this question and in lieu of
   12   further pursuing an extension of time to respond to the FAC, however, Ms. Magnuson
   13   demanded a meet and confer the following day regarding her clients’ intended
   14   motions to dismiss. (Id.)
   15         BirdDog’s counsel responded that it would be more than willing to participate
   16   in a meet and confer and, since the deadline to hold a Rule 26(f) conference was the
   17   following Monday, it would make sense to conduct that conference at the same time.
   18   (Id.) Ms. Magnuson rejected that idea, claiming that the Rule 26(f) conference
   19   “would be premature and inefficient given that a scheduling order has not yet been
   20   issued in the case, [BirdDog] just filed an amended complaint, a motion to dismiss
   21   that amended complaint will be forthcoming, and two parties have yet to appear.”
   22   (Id.) BirdDog’s counsel again requested a Rule 26(f) conference on January 19 and
   23   January 22, explaining that January 22 was the deadline to hold the conference under
   24   Rule 26(f)(1). (Id.; Huey Decl. ¶ 3, Exh. B.) BirdDog’s attempts to comply with this
   25   deadline were unsuccessful, as Appearing Defendants did not agree to hold this
   26   conference. (Id.)
   27         The parties eventually agreed to an extension of Appearing Defendants’
   28   deadline to respond to the FAC. (Huey Decl. ¶ 4.) On January 30, 2024, Defense
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    1   Counsel contacted counsel for BirdDog to schedule a meet and confer related to
    2   Appearing Defendants’ intended motions to dismiss the FAC. (Huey Decl. ¶ 4, Exh.
    3   C.) BirdDog’s counsel responded stating that BirdDog would be happy to meet and
    4   confer, but that the parties should also schedule their Rule 26(f) conference, which
    5   was now overdue. (Id.) Ms. Magnuson reiterated her position that the conference
    6   was premature and impracticable. (Id.) BirdDog’s counsel responded that Rules
    7   26(f)(1) and 16(b)(2) set forth mandatory timing procedures that the parties were
    8   obligated to abide by absent an order from the Court holding otherwise. (Id.)
    9   Because Appearing Defendants had not sought relief from those timing provisions
   10   from the Court, the parties were obligated to hold this discovery conference. (Id.)
   11   Appearing Defendants’ counsel responded: “We seem to be talking past each other
   12   so I do not see any utility in responding further. We can ‘agree to disagree’ as to
   13   each parties’ obligations.” (Id.)
   14          On April 9, 2024, counsel for BirdDog and Defense Counsel met and conferred
   15   via telephone to discuss the substance of this motion, but Defense Counsel again
   16   refused to participate in a Rule 26(f) conference, and the parties remained unable to
   17   reach an agreement. (Huey Decl. ¶ 7, Exh. F.)
   18   III.   JUDICIAL STANDARD
   19          Rule 26(f) of the Federal Rules of the Civil Procedure requires parties to meet
   20   and confer on discovery “as soon as practicable—and in any event at least 21 days
   21   before a scheduling conference is to be held or a scheduling order is due under Rule
   22   16(b).” Fed. R. Civ. P. 26(f)(1) (emphasis added). Under Rule 16(b), a scheduling
   23   order is due “within the earlier of 90 days after any defendant has been served with
   24   the complaint or 60 days after any defendant has appeared.” Fed. R. Civ. P. 16(b)(2).
   25          The filing of a motion to dismiss does not stay or otherwise alter the timing as
   26   to when parties must meet and confer under Rule 26(f). “The Federal Rules of Civil
   27   Procedure do not provide for an automatic stay of discovery when a motion to dismiss
   28   is pending.” Gold v. Kaplan, 2021 WL 6618643, at *4 (C.D. Cal. Dec. 2, 2021)
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    1   (quoting Goro v. Flowers Foods, Inc., 334 F.R.D. 275, 286 (S.D. Cal. 2018)).
    2   Accordingly, a party who wishes to postpone its discovery obligations pending a
    3   ruling on a motion to dismiss must seek a stay of discovery from the district court—
    4   it may not “impose a unilateral ‘self-help’ stay by simply objecting and refusing to
    5   provide substantive discovery responses while the Motions to Dismiss are pending.”
    6   Id.
    7   IV.    ARGUMENT
    8          A.     Ex Parte relief is warranted here.
    9          BirdDog has no choice but to seek relief on an expedited basis here. A party
   10   seeking ex parte relief must: (1) show it “will be irreparably prejudiced if the
   11   underlying motion is heard according to regular noticed motion procedures;” and (2)
   12   it “is without fault in creating the crisis that requires ex parte relief, or that the crisis
   13   occurred as a result of excusable neglect.” Mission Power Eng’g Co. v. Cont’l Cas.
   14   Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995). BirdDog satisfies both requirements.
   15          First, BirdDog would be prejudiced if it had to bring this request under regular
   16   noticed motion procedures because BirdDog would have to wait several more months
   17   before beginning discovery due to Appearing Defendants’ intentional delay tactics,
   18   while discovery should have been initiated months ago. The rules require that the
   19   parties confer to, among other things, discuss the nature and basis of their claims and
   20   defenses and the possibilities for promptly settling or resolving the case, make or
   21   arrange for initial disclosures, discuss any issues about preserving discoverable
   22   information, and develop a proposed discovery plan. Fed. R. Civ. P. 26.
   23          Five months after this case has been filed, BirdDog remains unaware of
   24   whether Appearing Defendants are complying with their preservation duties.
   25   BirdDog continues to be harmed by Appearing Defendants’ conduct, as it continues
   26   to suffer mounting and significant harm to its business reputation, and will lose
   27   market share, because of Defendants’ scheme to continue making false
   28   representations about Plaintiffs. Even worse, Appearing Defendants continue to
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    1   misappropriate BirdDog’s trade secrets, costing BirdDog countless past and future
    2   customers. Appearing Defendants must comply with their discovery obligations so
    3   that the case can proceed accordingly.
    4            Second, BirdDog is without fault in creating the crisis that requires ex parte
    5   relief. Indeed, BirdDog has made every attempt to confer with Defense Counsel on
    6   this issue, and Defense Counsel have only dug their heels deeper with each attempt.
    7   Appearing Defendants have not only intentionally delayed discovery in this action,
    8   but they have attempted to thwart this Court’s jurisdiction altogether. Appearing
    9   Defendants—namely Mr. Lo and Ms. Lee—evaded service of the complaint on Bolin
   10   Limited by fleeing to China once they learned that Bolin Limited was named as a
   11   defendant. They have also obstructed this Court’s adjudication of this case by asking
   12   a foreign court to restrain BirdDog’s ability to litigate in this forum, on an emergency
   13   basis.
   14            B.    Appearing Defendants have not established any basis for avoiding
   15                  their discovery obligations under the Federal Rules.
   16            Bolin LLC was served with the Complaint on November 13, 2023. (Dkt. 14.)
   17   Per Rule 16(b), a scheduling order was therefore due by February 12, 2024, meaning
   18   the parties were required to meet and confer 21 days before that date on January 22,
   19   2024. See Fed. R. Civ. P. 26(f)(1) (requiring parties to meet and confer at least 21
   20   days before a scheduling order is due under Rule 16(b)). Appearing Defendants have
   21   not requested relief from this discovery deadline, nor have they shown why they
   22   would be entitled to one.
   23            Appearing Defendants seem to believe that they are not required to participate
   24   in a Rule 26(f) conference because: (1) they intend to file motions to dismiss the
   25   SAC; and (2) one party has failed to appear in the action. (Huey Decl. Exhs. A–C.)
   26   Neither of these circumstances relieves Appearing Defendants of their obligation to
   27   timely participate in a Rule 26(f) conference.
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    1                1.     The filing of a motion to dismiss does not stay discovery.
    2         The filing of motions to dismiss by Appearing Defendants does not
    3   automatically relieve them of their discovery obligations. Indeed, “district courts
    4   look unfavorably upon such blanket stays of discovery.” NMS 1539, LLC v. City of
    5   Santa Monica, 2022 WL 3575311, at *1 (C.D. Cal. July 26, 2022). “Had the Federal
    6   Rules contemplated that a motion to dismiss under Fed. R. Civ. Pro. 12(b)(6) would
    7   stay discovery, the Rules would contain a provision for that effect. In fact, such a
    8   notion is directly at odds with the need for expeditious resolution of litigation.”
    9   Skellerup Indus. Ltd. v. City of L.A., 163 F.R.D. 598, 600-01 (C.D. Cal. 1995).
   10         “It is well-established that a party seeking a stay of discovery carries the heavy
   11   burden of making a strong showing why discovery should be denied.” NMS 1539,
   12   LLC, 2022 WL 3575311, at *1; Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th
   13   Cir. 1975) (under the liberal discovery principles reflected in the Federal Rules, those
   14   opposing discovery carry a heavy burden of showing why discovery should be
   15   denied) Rheumatology Diagnostics Lab’y, Inc. v. Aetna, Inc., 2013 WL 5694452, at
   16   *8 n.3 (N.D. Cal. Oct. 18, 2013) (noting that court denied request to stay discovery
   17   based solely on filing of motion to dismiss and ordered discovery to continue in case).
   18   As for a stay of discovery based on a pending motion to dismiss, a court may stay
   19   discovery pending a decision on the motion only “when it is convinced that the
   20   plaintiff will be unable to state a claim for relief.” Wenger v. Monroe, 282 F.3d 1068,
   21   1077 (9th Cir. 2002).
   22         Here, Plaintiff has sufficiently alleged several claims for relief. Indeed, this
   23   Court has explicitly held as much, concluding that BirdDog has sufficiently stated
   24   claims for breach of the implied covenant of good faith and fair dealing, violations
   25   of the DTSA and the CUTSA, conversion, violations of California Penal Code
   26   section 496, money had and received, and violations of Business and Professions
   27   Code section 17200. (Dkt. 72.) Given that the SAC contains these same claims,
   28   those claims remain well-pled and at issue in this action. BirdDog should be able to
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    1   begin discovery on at least these claims, which have survived the motion to dismiss
    2   stage.
    3            Moreover, Appearing Defendants cannot meet their burden by simply pointing
    4   to the additional expense that may arise from conducting discovery on claims that
    5   may ultimately be resolved prior to trial. That is not the kind of harm that constitutes
    6   good cause to ignore well-settled discovery deadlines. As one court has stated:
    7            Apple argues that without a stay, ‘it is likely that Apple will need to
    8            devote significant time, money, and resources to responding to
    9            discovery in a case that will likely not survive the pleading stage.’ The
   10            resources required to respond to discovery are part of the ‘the traditional
   11            burdens of litigation.’ Apple does not explain why discovery in this
   12            case would be any more burdensome than it is on parties to other civil
   13            lawsuits. As this Court noted in [another case], ‘any interest Defendants
   14            may have in resisting discovery is outweighed by the interests of
   15            Plaintiff, the public, and the court in maintaining an orderly and
   16            expeditious schedule.
   17   Barrett v. Apple Inc., 2020 WL 13815568, at *2 (N.D. Cal. Oct. 22, 2020) (citation
   18   omitted).
   19            Appearing Defendants’ position that they need not participate in a Rule 26(f)
   20   conference until after the Court sets a scheduling conference or issues a scheduling
   21   order is similarly flawed. The Rules require parties to meet and confer within 21
   22   days of when a discovery order should issue, which is the earlier of 90 days after any
   23   defendant has been served or 60 days after any defendant has been served. Here, that
   24   means that the parties should have met and conferred pursuant to Rule 26(f) on or
   25   before January 22, 2024. Whether the Court has in fact set a scheduling conference
   26   or issued a scheduling order is irrelevant. See Escareno ex rel. A.E. v. Lundbeck,
   27   LLC, 2014 WL 1976867, at *3 (N.D. Tex. May 15, 2014) (“Defendants’ argument
   28   that nothing requires a Rule 26(f) conference before the Court issues a scheduling
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    1   order or requires a scheduling conference under Federal Rule of Civil Procedure
    2   16(b) misconstrues Rule 26(f)(1)’s requirements. Rule 26(f)(1) provides that ‘the
    3   parties must confer as soon as practicable’ but no later than—that is, ‘in any event at
    4   least’—‘21 days before a scheduling conference is to be held or a scheduling order is
    5   due under Rule 16(b).’”).
    6         Given Appearing Defendants’ outright refusal to participate in a Rule 26(f)
    7   conference that is explicitly provided for in the Federal Rules, an order compelling
    8   their participation is necessary. Courts have granted near-identical motions to compel
    9   where defendants took the position that they should not be required to participate in
   10   a Rule 26(f) conference until after a ruling on their pending or intended motion to
   11   dismiss. See, e.g., Harmoni Int’l Spice, Inc. v. Bai, No. 2:16-cv-00614-AB-AS, Dkt.
   12   132 (C.D. Cal. Aug. 19, 2016) (granting ex parte application to compel defendant to
   13   participate in Rule 26(f) conference despite pending motion to dismiss). Mairena-
   14   Rivera v. Langston Constr., LLC, 2016 WL 11824232, at *2 (E.D. La. Aug. 3, 2016)
   15   (granting motion to compel Rule 26(f) conference where “[e]ven if the court grants
   16   the motion to dismiss, dismissal would be without prejudice”); Escareno, 2014 WL
   17   1976867, at *1 (“[I]n the face of Plaintiffs’ request for the conference for which Rule
   18   26(f) provides, Appearing Defendants have not shown a need to stall the Rule 26(f)
   19   process and any and all discovery at this stage of the case.”); see also Third Pentacle,
   20   LLC v. Interactive Life Forms, LLC, 2012 WL 27473, at *3 (S.D. Ohio Jan. 5, 2012)
   21   (even if a party “presently holds a strong belief in the merits of [the party’s] litigation
   22   positions, [the party’s] strong belief—whether ultimately justified or not—provides
   23   no basis for avoiding [the party’s] discovery obligations created by the Federal Rules
   24   of Civil Procedure”).
   25                2.     Bolin Limited’s failure to appear does not stay discovery.
   26         Appearing Defendants further assert that a Rule 26(f) conference would be
   27   “impracticable” because Bolin Limited has not appeared in this action.                This
   28   argument only highlights the inconsistent positions that Appearing Defendants have
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    1   taken throughout this litigation. On the one hand, Bolin LLC has vehemently rejected
    2   the notion that Bolin LLC and Bolin Limited are alter egos of one another. On the
    3   other hand, Bolin LLC asserts that it should not have to participate in discovery until
    4   Bolin Limited—a supposedly “distinct” entity who apparently will have entirely
    5   different counsel in this action—has appeared. Bolin cannot have it both ways. But
    6   regardless of which position Bolin ultimately chooses, neither relieves Bolin LLC of
    7   its obligation to participate in a Rule 26(f) conference.
    8         If Bolin LLC and Bolin Limited truly are distinct entities with separate counsel,
    9   then Bolin Limited’s failure to appear is of no moment as far as the discovery to be
   10   taken of and conducted by Bolin LLC. Bolin LLC should not be able to delay
   11   discovery based on the actions of an entirely unrelated entity, whose interests it has
   12   no standing to assert. Moreover, conducting a Rule 26(f) conference without Bolin
   13   Limited would not be impracticable because case law is clear that “successive Rule
   14   26(f) conferences are not required every time a new party is added to a case.” In re
   15   Outlaw Lab’ys, LP Litig., 2020 WL 1674552, at *6 (S.D. Cal. Apr. 6, 2020)
   16   (collecting cases reaching the same conclusion).
   17         If, on the other hand, Bolin LLC and Bolin Limited ultimately abandon the
   18   guise of separateness between them, then Bolin Limited will not be prejudiced by the
   19   occurrence of the Rule 26(f) conference at this stage. Because the interests of Bolin
   20   LLC and Bolin Limited are aligned, Bolin Limited’s interests will be adequately
   21   protected during the Rule 26(f) conference by counsel for Bolin LLC. Should any
   22   later discovery disputes arise that affect only Bolin Limited’s interests, the parties
   23   can address that concern at that time.
   24         In sum, Appearing Defendants lack any basis for deviating from the discovery
   25   deadlines and procedures set forth in the Federal Rules. Accordingly, the Court
   26   should order that Appearing Defendants participate in the required Rule 26(f)
   27   conference.
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    1         C.     BirdDog will be prejudiced if discovery does not proceed as
    2                intended by the Federal Rules.
    3         Not only have Appearing Defendants failed to provide any basis for their
    4   refusal to participate in a discovery conference, but BirdDog will be severely
    5   prejudiced if it is unable to move forward with discovery until the pleadings are
    6   settled. If Appearing Defendants move to dismiss any portion of the SAC, then by
    7   their logic, discovery will be further delayed until that briefing is completed, the
    8   motion is heard, and the motion is ruled upon. Appearing Defendants should not be
    9   able to delay their discovery obligations until some unknown date in the future that
   10   could prevent Plaintiffs from beginning discovery for months. In re Pandora Media,
   11   LLC Copyright Litig., 2023 WL 2661192, at *1 (C.D. Cal. Jan. 31, 2023) (denying
   12   request to stay discovery pending a ruling on a motion to dismiss where hearing on
   13   motion was over a month away and the court could not “predict with any certainty
   14   when it may be able to issue an order resolving the motion”).
   15         It would be unjust to allow Appearing Defendants to avoid proceeding in this
   16   action until all claims are settled once and for all. This is particularly true here, where
   17   many of BirdDog’s claims—including its trade secret misappropriation and tort
   18   claims—have already survived the pleadings stage and will require significant
   19   discovery of information that is almost entirely within Appearing Defendants’
   20   possession. See Harmoni Int’l Spice, Inc. v. Wenxuan Bai, 2016 WL 11783827, at
   21   *5 (C.D. Cal. Sept. 30, 2016) (declining to stay discovery where certain claims will
   22   require significant discovery “in order to avoid undue delay of the proceedings”).
   23   BirdDog should not be subjected to such a delay while Appearing Defendants
   24   continue to profit from their wrongful use of BirdDog’s trade secrets.
   25    V.   CONCLUSION
   26         For the foregoing reasons, BirdDog respectfully requests that the Court issue
   27   an Order compelling Bolin LLC, Mr. Lo, and Ms. Lee to participate in a Rule 26(f)
   28   conference as required by the Federal Rules of Civil Procedure.
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    1                         CERTIFICATE OF COMPLIANCE
    2         The undersigned, counsel of record for Plaintiffs, certifies that this
    3   brief contains 3,952 words, which complies with the word limit of L.R. 11-6.1.
    4
    5
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            PLAINTIFFS’ EX PARTE APPLICATION TO COMPEL RULE 26(f)
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